  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



                              Gary E Mason
         was duly qualified and admitted on April 14, 1989 as an attorney and counselor entitled to
         practice before this Court; and is, on the date indicated below, an Active member in good
                                              standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                             Court at the City of
                                                                        Washington, D.C., on December
                                                                                   11, 2019.




                                                                              JULIO A. CASTILLO
                                                                                Clerk of the Court




                                                                    Issued By:
                                                                             District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
